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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:04CR3099
                                     )
           V.                        )
                                     )
ROBERT VYHNALEK, ROSE                )                   ORDER
VYHNALEK, RICHARD CRAWFORD,          )
                                     )
                Defendants.          )
                                     )


     The defendants’ unopposed oral motion to continue the status
conference herein is granted.       The status conference will be held
before the undersigned in courtroom 2, United States Courthouse
and Federal Building, 100 Centennial Mall North, Lincoln,
Nebraska on June 9, 2005 at 1:00 p.m.

     DATED this 1st day of June, 2005.

                                    BY THE COURT:


                                    S/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
